            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 1 of 18 Page ID
                                            #:325792



                  1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                     John B. Quinn (Bar No. 090378)
                  2  johnquinn@quinnemanuel.com
                      Michael T. Zeller (Bar No. 196417)
                  3  (michaelzeller@quinnemanuel.com)
                    865 South Figueroa Street, 10th Floor
                  4 Los Angeles, California 90017-2543
                    Telephone: (213) 443-3000
                  5 Facsimile: (213) 443-3100
                  6 Attorneys for Mattel, Inc. and Mattel de
                    Mexico, S.A. de C.V.
                  7
                  8                         UNITED STATES DISTRICT COURT
                  9                       CENTRAL DISTRICT OF CALIFORNIA
                10                                   SOUTHERN DIVISION
                11 MATTEL, INC., a Delaware                         CASE NO. CV 04-9049 DOC (RNBx)
                   corporation, et al.,
                12                                                  Consolidated with
                                                                    Case No. CV 04-09059
                13                     Plaintiff,                   Case No. CV 05-02727
                14                                                  Hon. David O. Carter
                             vs.
                15                                                  REPLY IN SUPPORT OF
                        MGA ENTERTAINMENT, INC., a                  APPLICATION FOR AN ORDER
                16                                                  UNDER 28 U.S.C. § 1782
                        California corporation, et al.,             COMPELLING ISSUANCE OF
                17                                                  SUBPOENAS FOR THE TAKING OF
                                      Defendant.                    TESTIMONY FOR USE IN A
                18                                                  FOREIGN PROCEEDING
                                                                    PURSUANT TO LETTER
                19 AND CONSOLIDATED ACTIONS                         ROGATORY
                20                                                  [Supplemental Declaration of Jon Corey
                                                                    filed concurrently herewith.]
                21
                                                                    Hearing Date:       TBD
                22                                                  Time:               TBD
                                                                    Place:              TBD
                23
                                                                    Trial:                  January 18, 2011
                24
                25
                26
                27
                28
00505.07209/4265242.3
                                                    REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 2 of 18 Page ID
                                            #:325793



                  1                                               TABLE OF CONTENTS
                  2                                                                                                                           Page
                  3
                  4 ARGUMENT ............................................................................................................... 1
                  5 I.           EACH OF THE INTEL FACTORS WEIGH IN FAVOR OF
                                 ORDERING THE REQUESTED EVIDENCE ................................................ 1
                  6
                                 A.       None Of The Witnesses Are Participants In The Foreign
                  7                       Proceeding ............................................................................................... 3
                  8              B.       The Fact That A Foreign Tribunal, Not Merely An Interested
                                          Party, Seeks The Discovery Weighs In Favor Of Granting The
                  9                       Application .............................................................................................. 4
                10               C.       The Application Does Not Circumvent Any Restrictions On
                                          Evidence Collection ................................................................................ 6
                11
                                          1.       The Application Is Not An Attempt To Circumvent
                12                                 Mexican Proof-Gathering Restrictions or Law. ........................... 6
                13                        2.       The Application Is Not An Attempt To Circumvent U.S.
                                                   Proof-gathering Restrictions or Policies ..................................... 10
                14
                                 D.       The Discovery Would Not Be Unduly Intrusive or Burdensome......... 11
                15
                        II.      THE ONLY CHANGED CIRCUMSTANCE IS THAT THE
                16               MEXICAN COURT IS NOW THE ONLY TRIBUNAL THAT WILL
                                 CONSIDER THE MERITS OF THE TRADE SECRET THEFT
                17               ALLEGATIONS AGAINST MR. MACHADO............................................. 12
                18 III.          THE MEXICAN COURT’S REQUEST IS NOT BARRED BY RES
                                 JUDICATA...................................................................................................... 13
                19
                        CONCLUSION.......................................................................................................... 15
                20
                21
                22
                23
                24
                25
                26
                27
                28
00505.07209/4265242.3
                                                                                    -i-
                                                                REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 3 of 18 Page ID
                                            #:325794



                  1                                           TABLE OF AUTHORITIES
                  2                                                                                                                      Page
                  3                                                             Cases
                  4 In re Application of Guy,
                        2004 WL 1857580 (S.D.N.Y. Aug. 19, 2004) ....................................................... 1
                  5
                    Bear Stearns & Co. v. Wyler,
                  6     182 F. Supp. 2d 679 (N.D. Ill. 2002)...................................................................... 8
                 7 In re Application of Esses,
                       101 F.3d 873 (2nd Cir. 1996) ................................................................................. 4
                 8
                 9 In re Fischer Advanced Composite Components AG,
                       2008 WL 5210839 (W.D. Wash. Dec. 11, 2008) ................................................. 11
                10
                   Four Pillars Enterprises Co., Ltd. v. Avery Denison Corp.,
                11     308 F.3d 1075 (9th Cir. 2002) .............................................................................. 13
                12 Intel Corp. v. Advanced Micro Devices, Inc.,
                       542 U.S. 241 (2004) ................................................................................... 1, 3, 4, 7
                13
                   In re Premises Located at 840 140th Ave., N.E.,
                14     634 F.3d 557 (9th Cir. 2011) .................................................................................. 3
                15 Rogers v. United States,
                     340 U.S. 367 (1951) ............................................................................................... 9
                16
                   United States v. Bhatia,
                17   545 F.3d 757 (9th Cir. 2008) ................................................................................ 13
                18 United States v. Hansen,
                19   233 F.R.D. 665 (S.D. Cal. 2005) ............................................................................ 7

                20 United States v. Kordel,
                     397 U.S. 1 (1970) ................................................................................................... 9
                21
                   United States v. Pierce,
                22   561 F.2d 735 (9th Cir. 1977) .................................................................................. 7
                23
                                                                              Statutes
                24
                        28 U.S.C. § 1782.................................................................. 1, 2, 3, 4, 5, 6, 7, 9, 11, 13
                25
                        Fed. R. Civ. P. 26(b)(1) ............................................................................................. 10
                26
                27                                                    Other Authorities
                28 8 Wright & Miller, Federal Practice and Procedure § 2018 (3d ed.) .......................... 8
00505.07209/4265242.3
                                                                                  -ii-
                                                                REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 4 of 18 Page ID
                                            #:325795



                  1                                       Argument
                  2        MGA’s Opposition to the Application devotes pages to gratuitous attacks on
                  3 Mattel and on the Mexican court, but it fails to rebut the actual merits of the
                  4 Application. MGA does not contest that the Application meets the threshold factors
                  5 of 28 U.S.C. § 1782: the witnesses are found in this district, a proceeding is
                  6 presently pending before a foreign tribunal for which the discovery is sought, and
                  7 the applicant is an interested person within the meaning of § 1782.
                  8        The discretionary factors identified by the Supreme Court in Intel Corp. v.
                  9 Advanced Micro Devices, Inc., 542 U.S. 241, 264-65 (2004) also favor granting the
                10 Application. None of the witnesses from whom the Mexican court seeks evidence
                11 are participants in the Mexican criminal case.                   Contrary to MGA’s
                12 characterization, the Mexican judiciary is not Mattel’s puppet; the letter rogatory
                13 issued from the Mexican court, not Mattel, seeking the assistance of a federal court.
                14 The request does not conceal an attempt to circumvent foreign proof-gathering
                15 restrictions or other policies of a foreign country or of the United States. Finally,
                16 the request is not unduly intrusive or burdensome. Although MGA contests this
                17 point, it provides no actual proof to substantiate its claim that sitting for a
                18 deposition would be burdensome. Mattel, therefore, respectfully requests that the
                19 Court grant the Application and order the discovery requested by the 10th District
                20 Court on Federal Criminal Proceedings (the “Mexican court”).
                21 I.      EACH OF THE INTEL FACTORS WEIGH IN FAVOR OF
                22         ORDERING THE REQUESTED EVIDENCE
                23         MGA does not contest that the threshold factors of 28 U.S.C. § 1782 are met.
                24 See In re Application of Guy, 2004 WL 1857580, at *2 (S.D.N.Y. Aug. 19, 2004)
                25 (the witnesses are found in this district, a proceeding is presently pending before a
                26 foreign tribunal for which the discovery is sought and the applicant is an interested
                27 person within the meaning of § 1782).
                28
00505.07209/4265242.3
                                                              -1-
                                                 REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 5 of 18 Page ID
                                            #:325796



                  1         Although it took weeks, Mattel can now confirm that each of the witnesses
                  2 resides in this district and has been served.1 Counsel for MGA refused to accept
                  3 service on behalf of Mr. Makabi, a shareholder and director of MGA, Ms. Gronich,
                  4 MGA’s former general counsel and vice president, and Mr. Park, MGA’s former
                  5 chief operating officer.2 Thus, Mattel undertook to personally serve each. Each
                  6 witness was obviously forewarned because it took multiple days and substantial
                  7 effort to effectuate service.3 In fact, when a process server approached a car at
                  8 Mr. Makabi’s residence, the driver of the car ran over the process server’s foot.4
                  9 MGA does not contest that the prosecution of Machado and Trueba is pending
                10 before a foreign tribunal. Nor does MGA contest that the Application is made
                11 pursuant to “a letter rogatory, or request made, by a foreign or international
                12 tribunal.” 28 U.S.C. § 1782 (providing that the ordered discovery may be pursuant
                13 to letter rogatory or upon application of any interested person).
                14          MGA has said nothing that could cause the Court to consider the
                15 discretionary factors identified by the Supreme Court favor as weighing in favor of
                16 denying the Application. They are:
                17          •     “the person from whom discovery is sought is a participant in the
                18                foreign proceeding”;
                19          •     “the nature of the foreign tribunal, the character of the proceedings
                20                underway abroad, and the receptivity of the foreign government or the
                21                court or agency abroad to U.S. federal-court judicial assistance”;
                22
                        1
                23       See Exhibits D-F of the Supplemental Declaration of Jon Corey (“Supp. Corey
                   Dec.”), dated July 25, 2011. Mr. Larian, a party to the action, was served
                24 electronically when the papers were received by his counsel.
                        2
                25          See Supp. Corey Dec. ¶ 3 and Ex. A.
                        3
                26          See Supp. Corey Dec. ¶ 3 and Exs. B-F.
                        4
                27          See Supp. Corey Dec. ¶ 4.
                28
00505.07209/4265242.3
                                                               -2-
                                                 REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 6 of 18 Page ID
                                            #:325797



                  1         •     whether the request “conceals an attempt to circumvent foreign proof-
                  2               gathering restrictions or other policies of a foreign country or the
                  3               United States”; and
                  4         •     whether the request is “unduly intrusive or burdensome.”
                  5 In re Premises Located at 840 140th Ave., N.E., 634 F.3d 557, 563 (9th Cir. 2011)
                  6 (quoting Intel, 542 U.S. at 264-65).
                  7         A.    None Of The Witnesses Are Participants In The Foreign
                  8               Proceeding
                  9         Mr. Larian, Mr. Makabi, Ms. Gronich and Mr. Park are not participants in the
                10 Mexican prosecution.        The Supreme Court recognized that the assistance of a
                11 federal court is most necessary when the discovery sought is from a non-participant
                12 in the foreign proceeding. See Intel, U.S. 542 at 264 (“In contrast, nonparticipants
                13 in the foreign proceeding may be outside the foreign tribunal’s jurisdictional reach;
                14 hence, their evidence, available in the United States, may by unobtainable absent
                15 § 1782(a) aid.”). This factor clearly weighs in favor of granting the Application.
                16          MGA’s only response to this is its speculative and unsupported contention
                17 that the Mexican Court’s request is Mattel’s attempt to gather evidence to provide to
                18 prosecutors to seek arrest warrants against Mr. Larian and Mr. Makabi. However,
                19 the criminal proceeding in Mexico (the “Mexican Action”) was initiated six years
                20 ago and at no time has the Mexican court issued an arrest warrant for either
                21 Mr. Larian or Mr. Makabi; in fact, the Mexican court has declined to do so.5
                22
                23
                24
                25
                26
                        5
                            Dkt No. 7932, Kieckhefer Dec. Ex. 95 at 5897-5898.
                27
                28
00505.07209/4265242.3
                                                               -3-
                                                  REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 7 of 18 Page ID
                                            #:325798



                  1        B.    The Fact That A Foreign Tribunal, Not Merely An Interested
                  2              Party, Seeks The Discovery Weighs In Favor Of Granting The
                  3              Application
                  4        Having issued the letter rogatory, the Mexican court is clearly receptive to
                  5 U.S. federal-court judicial assistance.     This weighs in favor of granting the
                  6 Application. See Intel, 542 U.S. at 264 (“a court presented with a § 1782(a) request
                  7 may take into account the nature of the foreign tribunal, the character of the
                  8 proceedings underway abroad, and the receptivity of the foreign government or
                  9 the court or agency abroad to U.S. federal-court judicial assistance.”) (emphasis
                10 added). Notably, none of the cases cited by MGA in which a district court denied or
                11 limited discovery sought for a foreign proceeding concerned a letter rogatory issued
                12 by a foreign tribunal. Permitting the evidence sought by the letter rogatory would
                13 serve the “twin aims of § 1782, providing efficient means of assistance to
                14 participants in international litigation in our federal courts and encouraging foreign
                15 countries by example to provide similar means of assistance to our courts.” In re
                16 Application of Esses, 101 F.3d 873, 876 (2nd Cir. 1996) (internal quotes omitted).
                17         MGA claims that the Application is too late because the letter rogatory is
                18 dated August 2010 (Opposition at 5, 8-9, 13). It cites no case law showing that
                19 “undue delay” is a valid ground for disregarding the evidence it seeks.
                20         MGA also speculates that, based on the time elapsed, the Mexican court
                21 would no longer be receptive to the evidence sought. Opp. at 12. Actually, the
                22 delay is not only justifiable, but proves that the Mexican court actively seeks the
                23 requested evidence. The Mexican Court submitted the letter rogatory twice to the
                24 Mexican Consulate in Los Angeles—first in August 2010 and then again in
                25 December 2010—in its effort to obtain the requested evidence. The letter rogatory
                26 was originally transmitted via the Mexican Consulate in Los Angeles and the U.S.
                27
                28
00505.07209/4265242.3
                                                              -4-
                                                REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 8 of 18 Page ID
                                            #:325799



                  1 Department of State to the U.S. Department of Justice; however, it was returned to
                  2 the requesting Mexican court on December 17, 2010 without being processed.6 The
                  3 Mexican Court was instructed “to seek the assistance of an attorney-at-law licensed
                  4 to practice in the Federal Court where the case is being heard, in order for such
                  5 attorney-at-law to act as attorney-in-fact and to serve accordingly in the event that
                  6 the Court orders to process such request.”7 Consistent with that direction, the
                  7 Mexican Court again submitted the letter rogatory to the Mexican Consulate in
                  8 Los Angeles in February 2011, and at that time, the Mexican Consulate summoned
                  9 Jon Corey, counsel for Mattel, to come to the Consulate and take possession of the
                10 letter rogatory.8    Counsel for Mattel did not receive the letter rogatory until
                11 February 25, 2011.9
                12          In late February, the parties were approximately halfway through a three-
                13 month trial. Undoubtedly, if the Mexican court’s request been presented mid-trial,
                14 then MGA would have argued it was calculated solely to harass Mr. Larian mid-trial
                15 and would be unduly burdensome to take the depositions at that time. Anticipating
                16 this concern, the Application was deferred until after the trial and post-trial briefing,
                17 was complete.       Mattel initially filed the Application and supporting papers on
                18 June 23, 2011 in a new action, consistent with the procedures for initiating a 28
                19 U.S.C. § 1782 action. However, the clerk communicated to Mattel that the Court
                20 preferred that Mattel file the Application and supporting papers in the instant action,
                21
                22
                        6
                        See English translation of the Acta Circunstanciada, dated February 25, 2011
                23 and prepared by the Mexican Consulate at ¶ 2, attached as Exhibit B to the
                   Declaration of Jon Corey (“Corey Dec.”).
                24
                      7
                        Id.
                25
                      8
                        Id. ¶ 4.
                26
                      9
                        Id. ¶ 5.
                27
                28
00505.07209/4265242.3
                                                              -5-
                                                 REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
            Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 9 of 18 Page ID
                                            #:325800



                  1 which Mattel did on June 30, 2011.10 Any delay in bringing the Mexican Court’s
                  2 letter rogatory before the Court is primarily attributable to the circuitous channel the
                  3 letter traveled prior to being delivered to counsel for Mattel and, secondly, to the
                  4 fact that the letter was received mid-trial.
                  5             Finally, MGA submits no proof that the Mexican Court has withdrawn the
                  6 letter rogatory. Had it been, then Machado’s and Trueba’s criminal defense counsel
                  7 in Mexico (being paid by MGA and in a joint defense arrangement with MGA)
                  8 surely would say so. Far from being withdrawn, the Mexican Consul responsible
                  9 for the letter rogatory seeking information regarding the status of the letter rogatory
                10 to report to the Mexican Court.11 Thus, this factor weighs in favor of granting the
                11 Application.
                12              C.    The Application Does Not Circumvent Any Restrictions On
                13                    Evidence Collection
                14              The third consideration is whether the request “conceals an attempt to
                15 circumvent foreign proof-gathering restrictions or other policies of a foreign country
                16 or the United States.”
                17                    1.    The Application Is Not An Attempt To Circumvent Mexican
                18                          Proof-Gathering Restrictions or Law.
                19              The Mexican Court itself seeks the discovery, so it cannot be an attempt to
                20 circumvent foreign proof-gathering restrictions or policies.              Furthermore, the
                21 Supreme Court has rejected MGA’s very argument that this Court should interpret
                22 Mexican law to deny the Application.                Aside from preservation of privilege,
                23 “nothing in the text of § 1782 limits a district court's production-order authority to
                24
                25         10
                              See Application For An Order Pursuant to 28 U.S.C. § 1782, dated June 30,
                        2011 at 2.
                26
                           11
                                See Supp. Corey Dec. ¶2.
                27
                28
00505.07209/4265242.3
                                                                 -6-
                                                    REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 10 of 18 Page ID
                                            #:325801



                  1 materials that could be discovered in the foreign jurisdiction if the materials were
                  2 located there. ‘If Congress had intended to impose such a sweeping restriction on
                  3 the district court’s discretion, at a time when it was enacting liberalizing
                  4 amendments to the statute, it would have included statutory language to that
                  5 effect.’” Intel, 542 U.S. at 260 (internal cites omitted).
                  6             MGA's declarant states that defense counsel in Mexico have the right to
                  7 attend the depositions.12 The underlying documents and the proposed order both
                  8 address notification of defense counsel so that they can attend if they so choose.13
                  9 That is not a basis to deny the Application.
                10              MGA asks the Court to deny the Application completely because Mr. Larian
                11 and Mr. Makabi could claim rights against self-incrimination under Article 20,
                12 Section II, of the Constitution of the United Mexican States. First, that argument
                13 obviously does not apply to Ms. Gronich or Mr. Park.
                14              Second, it is not a basis for a blanket denial of the Application. Section 1782
                15 states “to the extent that the order does not prescribe otherwise, the testimony or
                16 statement shall be taken, and the document or thing produced, in accordance with
                17 the Federal Rules of Civil Procedure.” See 28 U.S.C. 1782(a). Under U.S. law, a
                18 deponent cannot invoke a blanket right against self incrimination to avoid testifying
                19 entirely, but rather only in response to specific questions propounded by the
                20 investigating party. See United States v. Pierce, 561 F.2d 735, 741 (9th Cir. 1977)
                21 (It is well settled that a Fifth Amendment claim can only “be raised in response to
                22 specific questions propounded by the investigating party.”) (emphasis added); see
                23 also United States v. Hansen, 233 F.R.D. 665, 668 (S.D. Cal. 2005) (holding that
                24
                25         12
                                See Declaration of Luis Antonio San Miguel Bolea ¶¶ 3-4.
                26         13
                              See Corey Dec. Ex. B at 617-18 (providing for consular notification of
                        defense counsel in Mexico); [Proposed] Order ¶ 3 (Dkt. No. 10671-2).
                27
                28
00505.07209/4265242.3
                                                                  -7-
                                                     REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 11 of 18 Page ID
                                            #:325802



                  1 deponent could not refuse to attend deposition under a blanket claim of privilege
                  2 against self incrimination) (citing cases). “The proper procedure is for the deponent
                  3 to attend the deposition, to be sworn under oath, and to answer those questions he or
                  4 she can answer without running a risk of incrimination. In this way a record can be
                  5 made and the court can determine whether particular questions asked did entitle the
                  6 deponent to claim the privilege.”         8 Wright & Miller, Federal Practice and
                  7 Procedure § 2018 (3d ed.).
                  8          Third, under Mexican law, a non-Mexican citizen testifying outside of
                  9 Mexico cannot invoke Article 20.14           Accord Bear Stearns & Co. v. Wyler,
                10 182 F. Supp. 2d 679, 683 (N.D. Ill. 2002) (“We fail to find it self-evident that the
                11 Fifth Amendment’s privilege against self-incrimination is available to non-resident
                12 aliens.”).
                13           Fourth, the evidence sought will be used solely for the prosecution of
                14 Machado and Trueba, not to seek arrest warrants for Larian and Makabi.15
                15 Therefore, neither Larian nor Makabi have any reasonable apprehension of
                16 prosecution to justify invoking any right against self incrimination. Even if the new
                17 evidence was sought to promote a criminal investigation (as opposed to the
                18 testimony adduced solely for purposes of resolving the civil case), seeking that
                19 evidence would be entirely appropriate. Section 1782(a) specifically provides that
                20 the testimony sought may be for purposes of a “proceeding in a foreign or
                21 international tribunal, including criminal investigations conducted before formal
                22 accusation.” 28 U.S.C. § 1782(a) (emphasis added). The happenstance that this
                23 application is being resolved in a related civil proceeding does not limit the scope of
                24 permissible evidence under the statute.
                25
                        14
                26           Declaration of Francisco Tiburcio ¶ 5.
                        15
                27           Declaration of Francisco Tiburcio ¶ 6.
                28
00505.07209/4265242.3
                                                               -8-
                                                  REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 12 of 18 Page ID
                                            #:325803



                  1             Finally, Larian has waived any right against self-incrimination that he has.
                  2 MGA claims that the “investigation” into Mr. Larian has been pending for years,
                  3 but he was asked about his involvement in the thefts in Mexico at trial and never
                  4 invoked any right against self-incrimination under either the Fifth Amendment or
                  5 Article 20 of the Mexican Constitution.16 His knowing election to testify, rather
                  6 than invoke, waived that right. Rogers v. United States, 340 U.S. 367, 373 (1951)
                  7 (if witness elects to waive privilege, he must make a full disclosure of facts
                  8 regarding which he waived the right against self-incrimination). Failure to exert the
                  9 right against self-incrimination in civil proceedings forfeits the right to exclude the
                10 evidence in subsequent criminal cases. See United States v. Kordel, 397 U.S. 1, 7
                11 (1970) (criminal defendant forfeited his right to assert Fifth Amendment privilege
                12 with regard to answers he gave to interrogatories in a prior civil proceeding). The
                13 Court should not now allow Larian to rely on that waived right to justify not even
                14 being sworn to provide testimony sought by the Mexican Court.
                15              The Supreme Court’s logic also applies to MGA’s invitation to pre-judge the
                16 admissibility of e-mails under (some unnamed, unidentified and uncited) Mexican
                17 Supreme Court opinion. Again, this is a collateral issue that in no way justifies
                18 blanket denial of the Application. MGA’s declarant does not suggest that the
                19 unidentified opinion applies to testimony at all, only documentary emails.17
                20 Whether the e-mails are admissible at trial is a question for the Mexican Court.
                21 MGA’s declarant makes very clear that that the unidentified opinion he relies upon
                22 addresses admissibility of evidence, not collection of evidence. He declared that if a
                23
                24
                25         16
                               Supp. Corey Dec. Ex. G (Larian trial testimony regarding theft of Mattel
                        trade secrets in Mexico).
                26
                           17
                                Declaration of Luis Antonio San Miguel Bolea ¶ 8.
                27
                28
00505.07209/4265242.3
                                                                  -9-
                                                     REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 13 of 18 Page ID
                                            #:325804



                  1 party “attempts to exhibit them [the emails] as proof, said communications have no
                  2 evidentiary value.”18
                  3             The question for this Court is the scope of collection of evidence under
                  4 section 1782, not admissibility. The question of scope is governed by the Rules of
                  5 Civil Procedure. 28 U.S.C. § 1782(a). Collection of evidence is not governed by
                  6 rules of admissibility, but by Rule 26(b), which permits discovery “regarding any
                  7 non-privileged matter that is relevant to any party's claim or defense.” Fed. R. Civ.
                  8 P. 26(b)(1). MGA does not argue that the e-mails attached to the letter rogatory, or
                  9 frankly any of the proposed questions are irrelevant. Nor could it. The Mexican
                10 Court approved them along with the e-mails.19 Nor does MGA’s declarant dispute
                11 that questions may be asked about the e-mails at deposition.20 This Court should not
                12 prejudge the admissibility of evidence under Mexican law, particularly when the
                13 requesting court has approved the evidence and before the evidence has been
                14 collected.
                15                    2.    The Application Is Not An Attempt To Circumvent U.S.
                16                          Proof-gathering Restrictions or Policies
                17              MGA also argues that the Mexican court’s request is an attempt by Mattel to
                18 circumvent the jury’s verdict in this case. This contention does not withstand
                19 scrutiny. First, the request is from the Mexican court, not Mattel, and it pre-dates
                20 the jury’s verdict by more than six months. Second, the jury in this case only
                21 considered two of the documents taken by Mr. Machado, Ms. Trueba and
                22
                23         18
                                Declaration of Luis Antonio San Miguel Bolea ¶ 8.
                24         19
                              Corey Dec. Ex. A at 10 (holding that questions for the witnesses “are
                        considered as legal by this Court”); see id. at 39-68, 175-203, 233-260, 355-383.
                25
                           20
                          Declaration of Luis Antonio San Miguel Bolea ¶ 8 (declaring that “any
                26 questions Mattel asks about the private communications should not be considered
                   evidence in Mexico”).
                27
                28
00505.07209/4265242.3
                                                                -10-
                                                    REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 14 of 18 Page ID
                                            #:325805



                  1 Mr. Vargas.21 The jury did not consider the guilt or innocence of Mr. Machado,
                  2 Ms. Trueba or Mr. Vargas. Mr. Machado was the only one of the three who is a
                  3 party to the instant action, and the claims against him were dismissed based on a
                  4 technical choice-of-law issue, not because he was absolved of wrongdoing.22 MGA
                  5 raises no argument that justifies interfering with the evidence gathering function of a
                  6 sister court.
                  7             D.   The Discovery Would Not Be Unduly Intrusive or Burdensome
                  8             The final consideration is whether the request is “unduly intrusive or
                  9 burdensome.”         Ironically, to support its contention that the request is unduly
                10 burdensome, MGA cites to Larian’s testimony in this action that he had no
                11 involvement in the actions of Machado, Trueba and Vargas—testimony to which the
                12 Mexican court does not have access because MGA successfully objected to
                13 deposition testimony from this case being provided to the Mexican court. MGA
                14 submits no actual proof to support its burden argument, such as a declaration from
                15 any of the four witnesses. In re Fischer Advanced Composite Components AG,
                16 2008 WL 5210839 (W.D. Wash. Dec. 11, 2008), to which MGA cites, is both
                17 distinguishable and informative. The Fischer court denied an Austrian company’s
                18 application pursuant to 28 U.S.C. § 1782 because the requests were “unduly
                19 burdensome primarily because” the requestor “failed to show why the information it
                20 seeks could not equally be obtained” in a foreign proceeding from the adverse party
                21 to that proceeding. Id. at *3. Here, MGA has ensured that the Mexican court cannot
                22 get the discovery sought from these non-parties to the Mexican proceedings absent
                23
                24         21
                              Compare Dkt. No. 10518 (Verdict Form dated April 20, 2011) at 7-8 to Dkt.
                        No. 6366 at 44, ¶¶ 55-57.
                25
                           22
                         See Dkt No. 10417 (Court’s Order dated April 6, 2011); see also Dkt
                26 No. 10641 (Discovery Master Report and Recommendation Re Application For
                   Attorneys’ Fees By (1) Mr. Machado And (2) MGA, dated June 20, 2011) at 1-2.
                27
                28
00505.07209/4265242.3
                                                               -11-
                                                   REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 15 of 18 Page ID
                                            #:325806



                  1 this letter rogatory. MGA cannot have it both ways. In addition, as explained
                  2 above, none of the other three witnesses have ever testified on this subject matter—
                  3 Mr. Makabi and Mr. Park have never testified at all in this Court and Ms. Gronich’s
                  4 limited testimony in the first trial did not concern this topic.            Thus, MGA’s
                  5 burdensomeness argument does not apply at all to these three witnesses.
                  6 II.         THE ONLY CHANGED CIRCUMSTANCE IS THAT THE MEXICAN
                  7             COURT IS NOW THE ONLY TRIBUNAL THAT WILL CONSIDER
                  8             THE MERITS OF THE TRADE SECRET THEFT ALLEGATIONS
                  9             AGAINST MR. MACHADO
                10              MGA contends that circumstances have changed because the jury in this case
                11 found MGA and Mr. Larian did not take Mattel trade secrets. Opp at 13. This is
                12 irrelevant, even to the extent a finding under U.S. law in a federal civil court
                13 proceeding would have any preclusive effect on a criminal case applying Mexican
                14 law in Mexico against different defendants. First of all, only two of the dozens of
                15 documents taken by Mr. Machado, Ms. Trueba and Mr. Vargas were before the jury
                16 in this case.23 As to those documents, the jury found each was a trade secret.24
                17 Contrary to MGA’s stated concern, MGA and Mr. Larian are not subjects of the
                18 criminal case in Mexico, only witnesses.25 And Mr. Machado, a defendant in the
                19 Mexican criminal case, avoided liability based on a choice of law issue, not because
                20 a jury adjudged him innocent of wrongdoing.26 Therefore, to the extent “changed
                21
                22         23
                              Compare Dkt. No. 10518 (Verdict Form dated April 20, 2011) at 7-8 to Dkt.
                        No. 6366 at 44, ¶¶ 55-57.
                23
                           24
                                Id.
                24
                           25
                                Dkt No. 7932 (Kieckhefer Dec. Ex. 95) at 5897-5898.
                25
                           26
                         See Dkt No. 10417 (Court’s Order dated April 6, 2011); see also Dkt
                26 No. 10641 (Discovery Master Report and Recommendation Re Application For
                   Attorneys’ Fees By (1) Mr. Machado And (2) MGA, dated June 20, 2011) at 1-2.
                27
                28
00505.07209/4265242.3
                                                                -12-
                                                    REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 16 of 18 Page ID
                                            #:325807



                  1 circumstances” should be weighed in considering the Application, the fact that the
                  2 Mexican court will now be the only court to consider the substance of the
                  3 allegations against Mr. Machado, Ms. Trueba and Mr. Vargas weighs in favor of
                  4 granting the Application.
                  5 III.   THE MEXICAN COURT’S REQUEST IS NOT BARRED BY RES
                  6        JUDICATA
                  7        MGA argues that the doctrine of res judicata bars the Court from ordering the
                  8 evidence sought in the Mexican court’s letter rogatory. It does not. This relief was
                  9 not previously requested, much less ruled upon. MGA relies on the denial of
                10 Mattel’s motion for an apostille of a CD and the deposition transcripts of Gustavo
                11 Machado, Mariana Trueba, Pablo Vargas and Susana Kuemmerle to the Mexican
                12 authorities, and the fact that Mattel did not timely appeal the Court’s prior order.
                13 “Res judicata, or claim preclusion, provides that a final judgment on the merits bars
                14 further claims by parties or their privies based on the same cause of action.” United
                15 States v. Bhatia, 545 F.3d 757, 759-60 (9th Cir. 2008) (holding that dismissal of
                16 prior civil suit against defendant did not bar criminal prosecution) (internal quotes
                17 omitted).
                18         Mattel’s previous request for relief, an apostille of a CD and certain
                19 deposition transcripts, was critically different from what is sought here by the
                20 Mexican court, namely the collection of original testimony from entirely different
                21 witnesses.     Four Pillars Enterprises Co., Ltd. v. Avery Denison Corp., 308
                22 F.3d 1075 (9th Cir. 2002) is inapposite. There the court rejected the same party’s
                23 request for the same discovery again.       The Four Pillars court actually ordered
                24 discovery taken to the extent it was not duplicative of that sought or produced in the
                25 prior proceedings. Four Pillars, 308 F.3d at 1078. Mattel previously sought to have
                26
                27
                28
00505.07209/4265242.3
                                                            -13-
                                                REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 17 of 18 Page ID
                                            #:325808



                  1 a CD and specific deposition transcripts provided to the Mexican authorities.27
                  2 Here, the Mexican court seeks a record of live testimony from four different
                  3 witnesses who reside in this district, none of whose depositions were included in
                  4 Mattel’s previous request. In fact, two of the witnesses, Jahangir Makabi and
                  5 Thomas Park, were never deposed or called at trial in the instant case, and one,
                  6 Daphne Gronich, never testified regarding the subject matter of the deposition
                  7 questions, much less answered the specific questions asked.28
                  8          With respect to Isaac Larian, MGA complains that Mr. Larian should not be
                  9 forced to sit for additional questioning after submitting to multiple days of
                10 deposition testimony and trial testimony in this case.         But MGA opposed the
                11 previous motion by which Mattel sought to provide deposition testimony from this
                12 action to the Mexican court. Now that the Mexican court seeks discovery to which
                13 it is entitled and for which a process exists for it to obtain such discovery, MGA
                14 complains that Mr. Larian should not be so burdened. MGA cannot have it both
                15 ways.
                16
                17
                18
                19
                20
                21
                22
                23
                24      27
                         Dkt No. 8366 (Mattel, Inc.’s Opposition to MGA Parties’ Motion For
                   Protective Order Prohibiting Dissemination of Information Obtained In This
                25 Lawsuit; And Cross-Motion for Discovery Pursuant to 28 U.S.C. § 1782 and
                   Issuance of Apostilles, dated July 23, 2010) at 16.
                26
                      28
                         7/2/08 PM Trial Tr. at 4080:22-4098:21.
                27
                28
00505.07209/4265242.3
                                                             -14-
                                                 REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
           Case 2:04-cv-09049-DOC-RNB Document 10695 Filed 07/27/11 Page 18 of 18 Page ID
                                            #:325809



                  1                                     Conclusion
                  2        For the reasons stated both in Mattel’s Memorandum of Points and
                  3 Authorities and in this Reply, the Court should order the issuance of subpoenas
                  4 commanding Isaac Larian, Daphne Gronich, Jahangir Makabi and Thomas Park to
                  5 appear and to provide testimony for use in the Mexico Action.
                  6
                  7 DATED: July 27, 2011               QUINN EMANUEL URQUHART &
                                                       SULLIVAN, LLP
                  8
                  9
                                                        By /s/ Jon Corey
                10
                                                          Jon Corey
                11                                        Attorneys for Mattel, Inc. and Mattel de
                12                                        Mexico, S.A. de C.V.

                13
                14
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
00505.07209/4265242.3
                                                            -15-
                                                REPLY IN SUPPORT OF APPLICATION PURSUANT TO 28 U.S.C. § 1782
